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6823 MRS/PJS
                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

PATRICK PURSLEY

                 Plaintiff,

        v.                                            Case No. 15 CV 4313

WARDEN TARRY WILLIAMS, ILLINOIS                       Hon. Judge Virginia M. Kendall
DEPARTMENT OF CORRECTIONS,
SALVADORE GODINEZ, DOCTOR SALEH
OBAYSE, KEVIN HOLLARAN (CEO
WEXFORD HEALTH SOURCES),

                 Defendants.

               AGREED GENERAL CONFIDENTIALITY/PROTECTIVE ORDER

        All parties to this action have moved the Court to enter a Confidentiality/Protective

 Order. The Court, being fully advised in the premises, has determined that the terms set forth

 herein are appropriate to protect the respective interests of the parties, the public, and the

 Court. Accordingly, IT IS HEREBY ORDERED:

        1.       Scope. All materials produced or adduced in the course of discovery, including

initial disclosures, responses to discovery requests, deposition testimony and exhibits, and

information derived directly therefrom (hereinafter collectively “documents”), shall be subject to

this Order concerning Confidential Information as defined below. This Order is subject to the

Local Rules of this District and the Federal Rules of Civil Procedure on matters of procedure and

calculation of time periods.

        2.       Confidential Information. As used in this Order, “Confidential Information”

means information designated as “CONFIDENTIAL-SUBJECT TO GENERAL PROTECTIVE

ORDER,” by the producing party that falls within one or more categories: (a) information




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prohibited from disclosure by statute; (b) information that reveals trade secrets; (c) research,

technical, commercial or financial information that the party has maintained as confidential; (d)

medical information concerning any individual; (e) personal identity information; (f) income tax

returns (including attached schedules and forms), W-2 forms and 1099 forms; (g) personnel or

employment records of a person who is not a party to the case; (h) the written policies of

Wexford Health Sources, Inc.; (i) any document created by or referencing Wexford Health

Sources, Inc., its agents or employees that reflect the policies, practices, or procedures of

Wexford Health Sources, Inc, and / or the implementation of the policies, practices, or

procedures of Wexford Health Sources, Inc. Information or documents that are available to the

public may not be designated as Confidential Information.

       3.     Designation.

              a.      A party may designate a document as Confidential Information for
                      protection under this Order by placing or affixing the words
                      “CONFIDENTIAL-SUBJECT TO GENERAL PROTECTIVE ORDER”
                      in a location that makes the designation readily apparent that will not
                      interfere with the legibility of the document. Applying the marking
                      “CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER” to a
                      document does not mean that the document has any status or protection by
                      statute or otherwise except to the extent and for the purposes of this Order.
                      Any copies that are made of any documents marked “CONFIDENTIAL-
                      SUBJECT TO PROTECTIVE ORDER” shall also be marked, except that
                      indices, electronic databases or lists of documents that do not contain
                      substantial portions or images of the text of marked documents and do not
                      otherwise disclose the substance of the Confidential Information are not
                      required to be marked.

              b.      The designation of a document as Confidential Information is a
                      certification by an attorney that the document contains Confidential
                      Information as defined in this Order..

       4.     Depositions.

Deposition testimony is protected by this Order only if designated as “CONFIDENTIAL –

SUBJECT TO GENERAL PROTECTIVE ORDER” on the record at the time the testimony is



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taken. Such designation shall be specific as to the portions that contain Confidential Information.

Deposition testimony so designated shall be treated as Confidential Information protected by this

Order until fourteen days after delivery of the transcript by the court reporter to any party or the

witness. Within fourteen days after delivery of the transcript, a designating party may serve a

Notice of Designation to all parties of record identifying the specific portions of the transcript

that are designated Confidential Information, and thereafter those portions identified in the

Notice of Designation shall be protected under the terms of this Order. The failure to serve a

timely Notice of Designation waives any designation of deposition testimony as Confidential

Information that was made on the record of the deposition, unless otherwise ordered by the

Court.

         5.    Protection of confidential Material.

               (a) General Protections. Confidential Information shall not be used or disclosed

by the parties, counsel for the parties or any other persons identified in subparagraph (b) for any

purpose whatsoever other than in this litigation, including any appeal thereof.

               (b) Limited Third-Party Disclosures. The parties and counsel for the parties

shall not disclose or permit the disclosure of any Confidential Information to any third person or

entity except as set forth in subparagraphs (1)-(9). Subject to these requirements, the following

categories of persons may be allowed to review Confidential Information:

                (1)     Counsel. Counsel for the parties and employees of counsel who have
                        responsibility for the action;

                (2)     Parties. Individual parties and employees of a party but only to the
                        extent counsel determines in good faith that the employee’s assistance is
                        reasonably necessary to the conduct of the litigation in which the
                        information is disclosed;

                (3)     The Court and its personnel;




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               (4)     Court Reporters and Recorders.       Court reporters and recorders
                       engaged for depositions;

               (5)     Contractors. Those persons specifically engaged for the limited
                       purpose of making copies of documents or organizing or processing
                       documents, including outside vendors hired to process electronically
                       stored documents;

               (6)     Consultants and Experts. Consultants, investigators, or experts
                       employed by the parties or counsel for the parties to assist in the
                       preparation and trial of this action but only after such persons have
                       completed the certification contained in Exhibit A, Acknowledgment of
                       Understanding and Agreement to Be Bound;

               (7)     Witnesses at depositions. During their depositions, witnesses in this
                       action to whom disclosure is reasonably necessary. Witnesses shall not
                       retain a copy of documents containing Confidential Information, except
                       witnesses may receive a copy of all exhibits marked at their depositions
                       in connection with review of the transcripts. Pages of transcribed
                       deposition testimony or exhibits to depositions that are designated as
                       Confidential Information pursuant to the process set out in this Order
                       must be separately bound by the court reporter and may not be disclosed
                       to anyone except as permitted under this Order.

               (8)     Author or recipient. The author or recipient of the document (not
                       including a person who received the document in the course of
                       litigation); and

               (9)     Others by Consent. Other persons only by written consent of the
                       producing party or upon order of the Court and on such conditions as
                       may be agreed or ordered.

               (c)     Control of Documents. Counsel for the parties shall make reasonable
efforts to prevent unauthorized or inadvertent disclosure of Confidential Information. Counsel
shall maintain the originals of the forms signed by persons acknowledging their obligations
under this Order for a period of three years after termination of the case.

       6.     Inadvertent Failure to Designate. An inadvertent failure to designate a

document as Confidential Information does not, standing alone, waive the right to so designate

the document; provided, however, that a failure to serve a timely Notice of Designation of

deposition testimony as required by this Order, even if inadvertent, waives any protection for




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deposition testimony. If a party designates a document as Confidential Information after it was

initially produced, the receiving party, on notification of the designation, must make a reasonable

effort to assure that the document is treated in accordance with the provisions of this Order. No

party shall be found to have violated this Order for failing to maintain the confidentiality of

material during a time when that material has not been designated Confidential Information, even

where the failure to so designate was inadvertent and where the material is subsequently

designated Confidential Information.

       7.      Filing of Confidential Information. This Order does not, by itself, authorize the

filing of any document under seal. Any party wishing to file a document designated as

Confidential Information in connection with a motion, brief or other submission to the Court

must comply with LR 26.2, but this shall not be interpreted to restrict or limit the producing

party’s ability to use or discuss or disclose its own Confidential Information.

       8.      No Greater Protection of Specific Documents. Except on privilege grounds not

addressed by this Order, no party may withhold information from discovery on the ground that it

requires greater protection than that afforded by this Order unless the party moves for an order

providing such special protection. This Order shall be without prejudice to the right of the parties

or other persons to present a motion to the Court for a separate protective order as to any

particular document or information, including restrictions differing from those specified herein.

This Order shall not be deemed to prejudice the parties in any way in any future application for

modification of this Order.

       9.      Challenges by a Party to Designation as Confidential Information. The

designation of any material or document as Confidential Information is subject to challenge by

any party. The following procedure shall apply to any such challenge:




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                      (a)    Meet and Confer. A party challenging the designation of

              Confidential Information must do so in good faith and must begin the process

              by conferring directly with counsel for the designating party. In conferring, the

              challenging party must explain the basis for its belief that the confidentiality

              designation was not proper and must give the designating party an opportunity

              to review the designated material, to reconsider the designation, and, if no

              change in designation is offered, to explain the basis for the designation. The

              designating party must respond to the challenge within five (5) business days.

                      (b)    Judicial Intervention. A party that elects to challenge a

              confidentiality designation may file and serve a motion that identifies the

              challenged material and sets forth in detail the basis for the challenge. Each

              such motion must be accompanied by a competent declaration that affirms that

              the movant has complied with the meet and confer requirements of this

              procedure. The burden of persuasion in any such challenge proceeding shall be

              on the designating party. Until the Court rules on the challenge, all parties shall

              continue to treat the materials as Confidential Information under the terms of

              this Order.

       10.    Action by the Court. Applications to the Court for an order relating to materials

or documents designated Confidential Information shall be by motion. Nothing in this Order or

any action or agreement of a party under this Order limits the Court’s power to make orders

concerning the disclosure of documents produced in discovery or at trial.

       11.    Use of Confidential Documents or Information at Trial. Nothing in this

Order shall be construed to affect the use of any document, material, or information at any trial




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or hearing. A party that intends to present or that anticipates that another party may present

Confidential information at a hearing or trial shall bring that issue to the Court’s and parties’

attention by motion or in a pretrial memorandum without disclosing the Confidential

Information. The Court may thereafter make such orders as are necessary to govern the use of

such documents or information at trial.

        12.    Confidential Information Subpoenaed or Ordered Produced in Other

 Litigation.

                (a)    If a receiving party is served with a subpoena or an order issued in other

 litigation that would compel disclosure of any material or document designated in this action

 as Confidential Information, the receiving party must so notify the designating party, in

 writing, immediately and in no event more than three court days after receiving the subpoena

 or order. Such notification must include a copy of the subpoena or court order.

                (b)    The receiving party also must immediately inform in writing the party

 who caused the subpoena or order to issue in the other litigation that some or all of the

 material covered by the subpoena or order is the subject of this Order. In addition, the

 receiving party must deliver a copy of this Order promptly to the party in the other action that

 caused the subpoena to issue.

                (c)    The purpose of imposing these duties is to alert the interested persons to

 the existence of this Order and to afford the designating party in this case an opportunity to try

 to protect its Confidential Information in the court from which the subpoena or order issued.

 The designating party shall bear the burden and the expense of seeking protection in that court

 of its Confidential Information, and nothing in these provisions should be construed as

 authorizing or encouraging a receiving party in this action to disobey a lawful directive from




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 another court. The obligations set forth in this paragraph remain in effect while the party has in

 its possession, custody or control Confidential Information by the other party to this case.

       13.     Challenges by Members of the Public             to Sealing Orders.       A party or

interested member of the public has a right to challenge the sealing of particular documents that

have been filed under seal, and the party asserting confidentiality will have the burden of

demonstrating the propriety of filing under seal.

       14.     Obligations on Conclusion of Litigation.

                (a)    Order Continues in Force. Unless otherwise agreed or ordered, this

 Order shall remain in force after dismissal or entry of final judgment not subject to further

 appeal.

                (b)     Obligations at Conclusion of Litigation. Within sixty-three days

 after dismissal or entry of final judgment not subject to further appeal, all Confidential

 Information and documents marked “CONFIDENTIAL - SUBJECT TO GENERAL

 PROTECTIVE ORDER” under this Order, including copies as defined in ¶ 3(a), shall be

 returned to the producing party unless: (1) the document has been offered into evidence or

 filed without restriction as to disclosure; (2) the parties agree to destruction to the extent

 practicable in lieu of return; or (3) as to documents bearing the notations, summations, or other

 mental impressions of the receiving party, that party elects to destroy the documents and

 certifies to the producing party that it has done so.

                (c)     Retention of Work Product and one set of Filed Documents.

 Notwithstanding the above requirements to return or destroy documents, counsel may retain

 (1) attorney work product, including an index that refers or relates to designated Confidential

 Information so long as that work product does not duplicate verbatim substantial portions of




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 Confidential Information, and (2) one complete set of all documents filed with the Court

 including those filed under seal. Any retained Confidential Information shall continue to be

 protected under this Order. An attorney may use his or her work product in subsequent

 litigation, provided that its use does not disclose or use Confidential Information.

                 (d)    Deletion of Documents filed under Seal from Electronic Case

 Filing (ECF) System. Filings under seal shall be deleted from the ECF system only upon

 order of the Court.

       15.      Order Subject to Modification. This Order shall be subject to modification

by the Court on its own initiative or on motion of a party or any other person with standing

concerning the subject matter.

       16.      No Prior Judicial Determination. This Order is entered based on the

representations and agreements of the parties and for the purpose of facilitating discovery.

Nothing herein shall be construed or presented as a judicial determination that any document or

material designated Confidential Information by counsel or the parties is entitled to protection

under Rule 26(c) of the Federal Rules of Civil Procedure or otherwise until such time as the

Court may rule on a specific document or issue.

       17.      Persons Bound. This Order shall take effect when entered and shall be binding

upon all counsel of record and their law firms, the parties, and persons made subject to this Order

by its terms.

       18.      In the event of a disclosure of Confidential Information to a person not authorized

to receive such disclosure under the provisions of this Order, the party responsible for having

made such disclosure shall immediately procure the return of the material and inform counsel for

the designating party whose Confidential Information has thus been disclosed of all relevant




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information concerning the nature and circumstances of such disclosure. The responsible party

shall also take all reasonable measures promptly to ensure that no further or greater unauthorized

disclosure of the Confidential Information occurs.



        So Ordered.

        Date: January 18, 2018




                                              Virginia M. Kendall, U.S. District Judge




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6823 MRS/PJS
                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

PATRICK PURSLEY

                Plaintiff,

        v.                                            Case No. 15 CV 4313

WARDEN TARRY WILLIAMS, ILLINOIS                       Hon. Judge Virginia M. Kendall
DEPARTMENT OF CORRECTIONS,
SALVADORE GODINEZ, DOCTOR SALEH
OBAYSE, KEVIN HOLLARAN (CEO
WEXFORD HEALTH SOURCES),

                Defendants.

                ACKNOWLEDGMENT AND AGREEMENT TO BE BOUND


          The undersigned hereby acknowledges that he/she has read the Confidentiality Order in

 the above-captioned action and attached hereto, understands the terms thereof, and agrees to be

 bound by its terms. The undersigned submits to the jurisdiction of the United States District

 Court for the Northern District of Illinois in matters relating to the Confidentiality Order and

 understands that the terms of the Confidentiality Order obligate him/her to use materials

 designated as Confidential Information in accordance with the Order solely for the purposes of

 the above-captioned action, and not to disclose any such Confidential Information to any other

 person, firm or concern.

        The undersigned acknowledges that violation of the Confidentiality Order may result in

penalties for contempt of court.




 Name:



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 Job Title:

 Employer:

 Business Address:




 Date:

                                Signature




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